       Case 1:15-cv-07433-LAP Document 1320-36 Filed 01/03/24 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X
VIRGINIA L. GIUFFRE,

        Plaintiff,
V.                                                                  15-cv-07433-RWS

GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                Declaration Of Laura A. Menninger In Support Of Defendant's Motion
                           to Reopen Deposition of Plaintiff Virginia Giuffre

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law :firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell ("Maxwell") in this action. I respectfully submit this declaration in support of

Defendant's Motion to Reopen Deposition of Plaintiff Virginia Giuffre.

        2.       Attached as Exhibit A is a true and correct copy of the transcript of the hearing

held before this Court on April 21, 2016.

        3.       Attached as Exhibit B is a true and correct copy of a letter from Laura A.

Menninger to Sigrid McCawley dated April 25, 2016 concerning discovery.

        4.       Attached as Exhibit C is a true and correct copy of Plaintiffs Second Amended

Supplemental Response and Objections to Defendant's First Set of Discovery Requests to

Plaintiff, served April 29, 2016.
      Case 1:15-cv-07433-LAP Document 1320-36 Filed 01/03/24 Page 2 of 3




        5.     Attached as Exhibit D (filed under seal) is a true and correct copy the Deposition

of Virginia Giuffre taken in the above captioned matter on May 3, 2016, and designated by

Plaintiff as Confidential under the Protective Order.

        6.     Attached as Exhibit E (filed under seal) is a true and correct copy of medical

records bates labeled GIUFFRE005431-5438, produced by Plaintiff on May 12, 2016.

        7.     Attached as Exhibit F (filed under seal) is a true and correct copy of medical

records bates labeled GIUFFRE005492-5496, produced by Plaintiff on May 25, 2016.

        8.     Attached as Exhibit G (filed under seal) is a true and correct copy of excerpts

from the Deposition of Lynn Trude Miller taken in the above captioned matter on May 24, 2016,

and designated by Plaintiff as Confidential under the Protective Order.

       9.      Attached as Exhibit H (filed under seal) is a true and correct copy of medical

records bates labeled GIUFFRE005498-005569. produced by Plaintiff on June 1, 20 I 6.

       10.     Attached as Exhibit I (filed under seal) is a true and correct copy of excerpts from

the Deposition of Dr. Steven Olsen taken in the above captioned matter on May 26, 2016, and

designated by Plaintiff as Confidential under the Protective Order.

       11.     Attached as Exhibit K (filed under seal) is a true and correct copy of a letter from

Sigrid Mccawley to Laura A. Menninger enclosing documents bates labeled GIUFFRE005607-

5613, produced by Plaintiff on June 10, 2016.

       12.     Attached as Exhibit Lis a true and correct copy of a letter from Laura A.

Menninger to Sigrid Mccawley and Meredith Shultz dated June 13, 2016 concerning discovery.

       13.     Attached as Exhibit M (filed under seal) is a true and correct copy of the Errata

Sheet served relating to the Deposition of Virginia Giuffre taken in the above captioned matter,

served on June L 2016.



                                                 2
      Case 1:15-cv-07433-LAP Document 1320-36 Filed 01/03/24 Page 3 of 3




       14.    Attached as Exhibit N (filed under seal) is a true and correct copy of Plaintiff,

Virginia Giuffre's Third Revised Disclosure Pursuant to Fed. R. Civ. P. 26, served June 1, 2016.



                                                 By: /sl Laura A. Menninger
                                                 Laura A. Menninger




                               CERTIFICATE OF SERVICE

       I certify that on June 20, 2016, I electronically served this Declaration OfLaura A.
Menninger In Support Of Defendant's Motion to Reopen Deposition ofPlaintiff Virginia Giuffre
via ECF on the following:

Sigrid S. McCawley                                Paul G. Cassell
Meridith Schultz                                  383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                    Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200            cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                                  J. Stanley Pottinger
Bradley J. Edwards                                49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,                 South Salem, NY 10590
FISTOS & LEHRMAN, P .L.                           StanPottinger@aol.com
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                                 Isl Nicole Simmons
                                                 Nicole Simmons




                                                3
